AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the

                                                    __________ District
                                                         EASTERN        of __________
                                                                  DISTRICT   OF TENNESSEE


                                                                      )
VOLKSWAGEN GROUP OF AMERICA
CHATTANOOGA OPERATIONS, LLC.,
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:22-CV-00191 -CEA-CHS
                                                                      )
                                                                      )
SAARGUMMI TENNESSEE, INC.                                             )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SaarGummi Tennessee, Inc.                               Pachulski Stang Ziehl & Jones, LLP
                                           c/o Corporation Service Company                 Laura Davis Jones
                                           Registered Agent                         &      919 North Market Street, 17th Floor
                                           Attn: Bryan Gillit                              Wilmington, DE 19899
                                           200 Commerce Way                                Email: ljones@pszjlaw.com
                                           Pulaski, TN 38478



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Timothy M. Gibbons, BPR 014860, E-mail: tgibbons@chamblisslaw.com
                                       Cathy S. Dorvil, BPR 034060, E-mail: cdorvil@chamblisslaw.com
                                       Logan C. Threadgill, BPR 034470, E-mail: lthreadgill@chamblisslaw.com
                                       Liberty Tower
                                       605 Chestnut Street, Suite 1700
                                       Chattanooga, TN 37450


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:        7/19/2022
                                                                                           Signature of Clerk oorr D
                                                                                                                   Deputy
                                                                                                                     eputy Clerk




        Case 1:22-cv-00191-CEA-CHS Document 6 Filed 07/19/22 Page 1 of 2 PageID #: 789
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




         Case 1:22-cv-00191-CEA-CHS Document 6 Filed 07/19/22 Page 2 of 2 PageID #: 790
           Print                       Save As...                                                                      Reset
